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                           UNITED STATES DISTRICT COURT
                            MIDDLE DISTRICT OF FLORIDA
                                  TAMPA DIVISION

JONATHAN BEHRLE,

        Plaintiff,

v.                                                             Case No. 8:19-cv-816-T-27CPT

HOVG, LLC d/b/a BAY
AREA CREDIT SERVICE,

      Defendant.
___________________________________/

                                           ORDER

        BEFORE THE COURT is the parties’ joint stipulation of dismissal with prejudice (Dkt.

15). Upon consideration, this case is DISMISSED with prejudice pursuant to Federal Rule of Civil

Procedure 41(a)(1)(A)(ii). The Clerk is instructed to CLOSE the file.

        DONE AND ORDERED in chambers this 24th day of September, 2019.

                                            /s/ James D. Whittemore
                                            JAMES D. WHITTEMORE
                                            United States District Judge

Copies to:
Counsel of Record
